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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                           DELTA DIVISION

MARCUS TAYLOR                                                             PLAINTIFF
Reg. #62930-037

V.                         No. 2:20-CV-00207-LPR-JTR

UNITED STATES OF AMERICA, et al.                                    DEFENDANTS


                                      ORDER

      Plaintiffs Marcus Taylor, Bobby Wells, Brian Mahaney, Frank Skinner,

Harold Allen, Robert Vaughan, and Jonnie Allie have filed a “Motion for Monetary

Damages” in this consolidated § 1983 action. Doc. 19. In this filing, Plaintiffs seek

to clarify that they are seeking monetary relief as a remedy in this case. The Clerk

is directed to amend the docket to describe Doc. 19 as a “Supplement to Complaint.”

      The Supplement to Complaint, Doc. 19, will be construed, together with the

Complaint, Doc. 1, as constituting the Plaintiffs’ claims in this case. See Kiir v.

North Dakota Public Health, 651 F. App’x 567, 568 (8th Cir. 2016) (amendment

“intended to supplement, rather than to supplant, the original complaint,” should be

read together with original complaint as pro se plaintiff’s complaint).

      DATED this 25th day of January, 2021.



                                       ____________________________________
                                       UNITED STATES MAGISTRATE JUDGE
